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                           UNITED STATES DISTRICT COURT
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                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      SHIRLEY SODERBERG,                         Case No.: 2:18-CV-3861-FMO-JPR
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                                                 [Hon. Fernando M. Olguin]
11                     Plaintiff,
12         vs.                                   ORDER GRANTING JOINT
                                                 STIPULATION FOR A FURTHER
13                                               CONTINUANCE OF THE
      CITY OF LOS ANGELES, et al.,               DISCOVERY DATES IN THE EVENT
14                                               THE SETTLEMENT IS NOT
                                                 APPROVED
15                     Defendants.
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19         Having reviewed the parties’ Notice of Conditional Settlement and Joint
20   Stipulation for a Further Continuance of the Discovery Dates in the Event the
21   Settlement is Not Approved, and GOOD CAUSE appearing therein, it is hereby
22   ordered that the current March 5, 2021 discovery cutoff is continued to July 5, 2021.
23
24         IT IS SO ORDERED.
25
26   DATED: January 8, 2021                              _________/s/________________
                                                         Hon. Fernando M. Olguin
27                                                       United States District Court
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                                             -1-
                                      [PROPOSED] ORDER
